       CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 1 of 28




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


VIEWPOINT NEUTRALITY NOW!;                  Case No. 20‐CV‐1055 (PJS/JFD)
EVAN SMITH; and ISAAC SMITH,

                    Plaintiffs,

v.

KENDALL J. POWELL, Regent Chair, in                   ORDER
her official capacity; STEVEN A.
SVIGGUM, Regent Vice Chair, in his
official capacity; MARY A.
DAVENPORT; JAMES T.
FARNSWORTH; KAO LY ILEAN HER;
DOUGLAS A. HUEBSCH; RUTH E.
JOHNSON; MIKE O. KENYANYA;
JANIE S. MAYERON; DAVID J.
MCMILLAN; DARRIN M. ROSHA;
KODI J. VERHALEN, Regents, in their
respective official capacities; JOAN T.A.
GABEL, President of the University of
Minnesota, in her official capacity; and
CALVIN D. PHILLIPS, Vice President for
Student Affairs and Dean of Students, in
his official capacity,

                    Defendants.



     Erick G. Kaardal and William F. Mohrman, MOHRMAN, KAARDAL &
     ERICKSON, P.A., for plaintiffs.

     Carrie Ryan Gallia, UNIVERSITY OF MINNESOTA OFFICE OF THE
     GENERAL COUNSEL, for defendants.
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 2 of 28




       Defendant University of Minnesota–Twin Cities (the “University”)1 collects a

mandatory student‐services fee that is used to fund registered student organizations

(“RSOs”), media groups, and administrative units; support student health and wellness

services; and subsidize the student union, known as Coffman Memorial Union

(“Coffman”). Plaintiffs Evan Smith and Isaac Smith are University students who are

required to pay the student‐services fee. Plaintiff Viewpoint Neutrality Now! is an

unregistered student organization at the University. Plaintiffs brought this lawsuit to

challenge the manner in which the University distributes the student‐services fee,

arguing that it violates the First Amendment.

       In February 2021, the Court granted in part and denied in part the University’s

motion to dismiss. Viewpoint Neutrality Now! v. Regents of Univ. of Minn. (“Viewpoint

Neutrality Now! I”), 516 F. Supp. 3d 904 (D. Minn. 2021). Only two of plaintiffs’ claims

remain. First, plaintiffs challenge the University’s process for determining which

student groups may apply for funds that are restricted to media groups. Second,

plaintiffs challenge the University’s decision to allocate lounge space in Coffman to nine

student cultural centers.




       1
        Although plaintiffs’ complaint pleads facts about other University of Minnesota
campuses, plaintiffs have clarified that they are challenging only the actions of the Twin
Cities campus. Pl. Memo. Opp. Mot. Dismiss at 26 [ECF No. 14].

                                           -2-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 3 of 28




       This matter is before the Court on the parties’ cross‐motions for summary

judgment. For the reasons that follow, the Court grants the University’s motion and

denies plaintiffs’ motion.

                                    I. BACKGROUND

       In its ruling on the University’s motion to dismiss, the Court thoroughly

described the facts underlying this lawsuit. See Viewpoint Neutrality Now! I, 516

F. Supp. 3d at 909–14. The Court provides only a summary here.

                                  A. Student‐Services Fee

       Each semester, all University students who are enrolled in at least six credits

must pay a mandatory student‐services fee to fund “student programs, activities, and

services on each campus.” Carvell Decl. Ex. 1 at 12 [ECF No. 58‐1]. The fee is comprised

of three components: a student life, health, and wellbeing fee; a media fee; and a

student‐activity fee. Carvell Decl. ¶ 4 [ECF No. 58]. Plaintiffs’ two remaining claims

relate to the media fee (which funds media‐related student groups) and the student life,

health, and wellbeing fee (which supports Coffman and the other operations and

facilities of Student Unions and Activities (“SUA”)). Id.

       A Board of Regents policy governs the student‐services fee and establishes four

guiding principles related to the fee:


       2
      Citations to exhibits use the internal page numbers of the documents, unless
otherwise noted.

                                            -3-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 4 of 28




              (a)    Fee‐supported programs, activities, and services shall
                     be available to all students assessed the fee.

              (b)    All persons involved in the development of the
                     student services fee shall recognize the relationship of
                     the student services fee to the total tuition and other
                     costs of education for students.

              (c)    The University’s educational mission is well served
                     when students have the means to engage in dynamic
                     discussions of diverse topics in their extracurricular
                     campus life.

              (d)    Decisions regarding the allocation of fees among
                     student groups shall be made in a viewpoint‐neutral
                     manner.

Carvell Decl. Ex. 1 at 1–2. The Board of Regents policy (including these principles) is

implemented through three handbooks that govern the allocation of the student‐

services fee: the Student Services Fee Request Handbook for Media Groups (“media‐

groups handbook”), the Student Services Fee Request Handbook for [Registered]

Student Organizations (“RSO handbook”), and the Student Services Fee Request

Handbook for Administrative Units (“administrative‐units handbook”). See Compl.

Exs. D, E, F [ECF No. 1‐1].

                                     B. Media Groups

                          1. 2019–2020 and 2020–2021 Process

       As noted, student media groups are funded through the media‐fee component of

the student‐services fee. Carvell Decl. ¶ 4. During the 2019–2020 and 2020–2021


                                            -4-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 5 of 28




academic years, a group that wished to apply for media funding was required to meet

four criteria:

                 1.   Have a mission that indicates that the group’s
                      primary focus is to provide a media‐related service
                      (not exclusive to social media) to campus

                 2.   Be a University Unit, Registered Student
                      Organization (RSO), or Campus Life Program (CLP)
                      currently registered and in good standing with
                      Student Unions and Activities

                 3.   Meet all minimum requirements for applying for
                      Student Services Fee Funding3 . . .

                 4.   Gain approval from the VPSA/DoS [Vice Provost for
                      Student Affairs/Dean of Students] [hereafter “VPSA”]
                      (or designee) to apply for SSF [student‐services fee]
                      funds as a Media Group. The VPSA/DoS shall have
                      the exclusive authority to determine which applicants
                      may apply to a SSF committee




       3
        These requirements include that the applicant must: (1) be an administrative
unit, RSO, or campus‐life program registered and in good standing with SUA; (2) not
receive pass‐through funding from special‐assessment groups; (3) provide financial
documents for the 12 consecutive months prior to applying; (4) comply with Student
Activities Financial Policies for RSOs (if it is an RSO); (5) complete the Student Services
Fee Canvas Course; (6) operate as a non‐profit; (7) not be a partisan political
organization; (8) have students participate in applying for and spending fees;
(9) demonstrate expenditures in compliance with the budget; (10) make all budgets and
financial records available upon request; (11) meet audit requirements; (12) comply
with the University’s Equal Opportunity Statement; (13) adhere to approved accounting
procedures; and (14) indicate “SSF Funded” on all marketing for events funded with
SSF funds. Carvell Decl. Ex. 2 at 10–11. In 2019–2020, applicants were also required to
complete a Financial Management Workshop. Compl. Ex. D at 10.

                                            -5-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 6 of 28




Carvell Decl. Ex. 2 at 15 [ECF No. 58‐2].4

       If an applicant group met the four minimum criteria, the group could apply for

funds to cover operational, event, and project costs. Id. at 16–17. A recommendation to

grant or deny the applied‐for funding was initially made by a SSF committee, after

which the broader University community had the opportunity to give feedback. Id. at

19–21. If a group was dissatisfied with the committee’s recommendation, and if the

group could provide evidence that the committee “violated its own rules,” “exhibited

bias against an organization,” or “did not make a decision in a viewpoint‐neutral

manner,” the group had the opportunity to appeal the committee’s recommendation to

the VPSA, who made the ultimate decision on any appeal. Id. at 21–22.

                          2. 2021–2022 and 2022–2023 Processes

       After the Court issued its ruling on the University’s motion to dismiss, the

University responded by revising the media‐groups handbook for the 2021–2022

academic year. Like the earlier handbooks, the 2021–2022 handbook requires any group

applying for media‐group funding to have a media‐related primary focus; be a

registered University Unit, RSO, or CLP in good standing with SUA; meet all of the

general requirements for applying for Student Services Fee Funding; and gain approval



       4
      The Court cites to the 2020–2021 handbook in describing the University’s prior
media‐group‐funding application process because the 2020‐2021 process was largely
unchanged from the 2019–2020 process. See Compl. Ex. D.

                                             -6-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 7 of 28




from the VPSA.5 Carvell Decl. Ex. 3 at 16 [ECF No. 58‐3]. The new handbook also

requires an applicant group to “have applied for and received SSF operations funds

through the student groups SSF Process . . . for the past three consecutive academic

years,” provide evidence that the group has fulfilled all reporting requirements to the

University during the past three years, and “[j]ustify a budget request that exceeds the

parameters of the operations guidelines for student groups.” Id.

       In contrast to prior versions of the handbooks, the 2021–2022 media‐groups

handbook eliminates the requirement that “[t]he VPSA/DoS shall have the exclusive

authority to determine which applicants may apply to a SSF committee.” Compare

Carvell Decl. Ex. 2 at 15, with Carvell Decl. Ex. 3 at 16. The new handbook also

establishes a new application process for groups to follow after they meet the minimum

funding requirements. Under the updated process, an applicant group must meet with

the SSF advisor and present its petition to a group of University stakeholders.

Following that presentation, the Student Affairs Senior Finance Manager, the leadership

team of the Student Groups SSF committee (minus the appeals chair), and the Chair of

the Media Groups SSF committee deliberate and provide a recommendation to the


       5
        During the hearing on this motion, the University’s attorney represented to the
Court that the requirement that an applicant group gain approval from the VPSA was
not intended to operate as a pre‐approval requirement or serve a gate‐keeping function
to apply for funding. If that is true, the Court recommends that the University amend
the text of the policy so that it is consistent with the representations of the University’s
attorney.

                                             -7-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 8 of 28




VPSA. After receiving and reviewing the recommendation, the VPSA informs the

applicant group of her decision. If the group disagrees with the VPSA’s decision, the

group may appeal the VPSA’s decision to the VPSA (i.e., the group may ask the VPSA

to reconsider her decision). The VPSA must then consult with the Student Groups SSF

committee appeals chair, the SSF advisor, and the Student Affairs Senior Finance

Manager before reaching a final decision. Id. at 16–17.

      The University amended the media‐group handbook again for the 2022–2023

academic year. The 2022–2023 media‐group funding application process is nearly

identical to the 2021–2022 process, with the exception that the Senior Assistant to the

VPSA, in consultation with the Senior Associate Vice President for Student Affairs,

makes initial funding decisions. If a group appeals the decision, the VPSA rules on the

appeal. See Carvell 2nd Decl. Ex. 4 at 14 [ECF No. 65‐1]. The 2022–2023 media‐group‐

funding process thus eliminates one of the more troublesome aspects of the 2021–2022

process, which required the VPSA to rule on appeals of her own decisions. Under the

2022–2023 process, the person who makes the initial decision is no longer the same as

the person who rules on an appeal of that decision.

                                   C. Space in Coffman

      A portion of the student‐services fee is also used to subsidize the Coffman

Memorial Union. Carvell Decl. ¶ 4. Several student groups have dedicated space in



                                            -8-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 9 of 28




Coffman, including nine student cultural centers: American Indian Student Cultural

Center, Al‐Madinah Cultural Center (“AMCC”), Asian‐American Student Union, Black

Student Union (“BSU”), Disabled Student Cultural Center, Feminist Student Activist

Collective (“FSAC”), Mi Gente Latinx Student Cultural Center (formerly “La Raza”),

Minnesota International Student Association, and Queer Student Cultural Center

(“QSCC”) (collectively, the “cultural centers”). Towle Decl. ¶ 8 [ECF No. 57].

       These cultural centers were allocated their current space in Coffman in 2011,

following a renovation of the Union. Id. ¶¶ 10, 12–13. The then‐VPSA used the

occasion of Coffman’s renovation to seek a long‐term solution to the challenge of

allocating student‐group space in the Union, id. ¶ 10, which had been an “ongoing

issue” since 1940, Towle Decl. Ex. B [ECF No. 57‐2], because the demand for student‐

group office space always surpassed the space available, Kaardal Decl. Ex. 26 [ECF No.

50‐3 at 9–11].

       The VPSA asked the Board of Governors to propose a solution to the space‐

allocation problem. Towle Decl. Ex. B. The Board “researched office space allocation

practices of comparable schools nationally, conducted a survey, formed an ad‐hoc

committee and held three public forums.” Id. On April 7, 2011, the Board issued its

recommendation to the VPSA. Id. The Board recommended that the cultural centers be

allocated “68% of the assignable square feet of [the] second floor” in Coffman, which is



                                           -9-
       CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 10 of 28




the amount of space the centers had been using prior to the renovation. Id. After

reviewing the Board’s findings and recommendations and meeting with a group of

concerned students, the VPSA approved the Board’s plan on May 16, 2011, finding that

it was “reasonable and appropriate.” Towle Decl. Ex. C [ECF No. 57‐3].

      The cultural centers moved into their dedicated space in Coffman following

completion of the renovation on August 26, 2013, and have remained there since.

Kaardal Decl. Ex. 27 [ECF No. 50‐3 at 17]; Towle Decl. ¶ 13. The cultural centers hold

their spaces on a “semi‐permanent basis subject to periodic renewal.” Towle Decl. ¶ 13;

Kaardal Decl. Ex. 9 [ECF No. 50‐1 at 67–71].

      Other than the cultural centers, the only student groups with dedicated space in

Coffman are Commuter Connection (“a campus life program of SUA that serves

commuter students”), Towle Decl. ¶ 6, and the University’s registered student

governance associations (the Minnesota Students Association, the Council of Graduate

Students, and the Professional Student Government), id. ¶ 7. Other RSOs do not have

permanent space in Coffman, but they are able to use “multi‐use space that is designed

for all student groups” and reserve small rooms for short‐term needs (such as event‐

planning meetings). Kaardal Decl. Ex. 14 [ECF No. 50‐2 at 14].




                                          -10-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 11 of 28




                                  II. LEGAL STANDARDS

                                    A. Standard of Review

       Summary judgment is warranted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A dispute over a fact is “material” only if its resolution

might affect the outcome of the suit under the governing substantive law. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute over a fact is “genuine” only if

“the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Id.

                               B. First Amendment Framework6

       “In defining the parameters of a speaker’s First Amendment right of access to

public property, the Supreme Court looks first to the nature of the forum the public

entity is providing.” Victory Through Jesus Sports Ministry Found. v. Leeʹs Summit R‐7 Sch.

Dist., 640 F.3d 329, 334 (8th Cir. 2011). It is now well‐established that the

“metaphysical” forum created by a student‐services‐fee fund is a limited public forum.

See Bd. of Regents of Univ. of Wisconsin Sys. v. Southworth (“Southworth I”), 529 U.S. 217,

233 (2000); Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830 (1995); Gerlich



       6
       The Court discussed the applicable legal standards at great length in its prior
order on the University’s motion to dismiss. See Viewpoint Neutrality Now! I, 516 F.
Supp. 3d at 917–22. The Court provides only a brief summary here.

                                             -11-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 12 of 28




v. Leath, 861 F.3d 697, 705 (8th Cir. 2017); Viewpoint Neutrality Now! I, 516 F. Supp. 3d at

918. Accordingly, the Court looks to the First Amendment standards applicable to

limited public forums in analyzing plaintiffs’ challenges to the University policies at

issue here. Viewpoint Neutrality Now! I, 516 F. Supp. 3d at 919–22. The Court previously

summarized those standards as follows:

              [I]n order to pass constitutional muster, [1] the Universityʹs
              process for allocating student‐services fees must be
              viewpoint neutral, [2] the University’s restrictions on any
              limited public forum created by those fees must be
              reasonable, and [3] the University must not vest unbridled
              discretion in the decision‐makers responsible for enforcing
              those restrictions.

Viewpoint Neutrality Now! I, 516 F. Supp. 3d at 922.

                                   1. Viewpoint Neutral

        The government may restrict a limited public forum “to the limited and

legitimate purposes for which it was created” without running afoul of the First

Amendment, as long as the government does not engage in viewpoint discrimination.

Rosenberger, 515 U.S. at 829–30. Viewpoint discrimination occurs when the government

targets “particular views taken by speakers on a subject,” id. at 829, or “when the

rationale for its regulation of speech is ‘the specific motivating ideology or the opinion

or perspective of the speaker.’” Gerlich, 861 F.3d at 705 (quoting Rosenberger, 515 U.S. at

829).



                                            -12-
       CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 13 of 28




       As this Court previously explained,

              [O]nce a university chooses to create a limited public forum
              and restrict it to a particular type of speaker (e.g., RSOs) or a
              particular subject (e.g., abortion), the university cannot then
              exclude speakers based on their ideology (e.g., conservative
              or liberal) or based on their viewpoint (e.g., pro‐life or
              pro‐choice). For example, a university would engage in
              viewpoint discrimination if it allowed “a group of
              Republicans or Presbyterians to [speak on campus] while
              denying Democrats or Mormons the same privilege.”
              Widmar v. Vincent, 454 U.S. 263, 281 (1981) (Stevens, J.,
              concurring); see also Good News Club v. Milford Cent. Sch., 533
              U.S. 98 (2001) (school’s denial of after‐school meeting space
              to club that wanted to discuss permissible topics, like child
              rearing, from a religious perspective was not viewpoint
              neutral); Rosenberger, 515 U.S. at 837 (university’s refusal to
              pay printing fees for student newspaper publishing on
              permissible topics from a religious perspective was
              viewpoint discriminatory); Lambʹs Chapel v. Ctr. Moriches
              Union Free Sch. Dist., 508 U.S. 384 (1993) (school’s denial of
              after‐school meeting space to church to screen films with
              religious views on permissible topics, like family values,
              violated viewpoint neutrality).

Viewpoint Neutrality Now! I, 516 F. Supp. 3d at 919.

                                       2. Reasonable

       In addition to being viewpoint neutral, restrictions on access to a limited public

forum must be reasonable—although they do not need to be the “most reasonable or

the only reasonable limitation[s].” Cornelius v. NAACP Legal Def. & Educ. Fund., Inc., 473

U.S. 788, 808 (1985). Factors relevant to the reasonableness of restrictions include

“(1) the University trustees’ and administrators’ expertise in creating educational


                                            -13-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 14 of 28




policies; (2) the purpose served by the forum; and (3) the alternative channels of

communication available.” Turning Point USA at Ark. State Univ. v. Rhodes, 973 F.3d 868,

876 (8th Cir. 2020).

                             3. Unbridled‐Discretion Doctrine

       The unbridled‐discretion doctrine grew out of Supreme Court decisions

addressing the licensing of public forums—and, in particular, out of concerns that

licensing decisions can operate as prior restraints on protected speech. See, e.g., City of

Lakewood v. Plain Dealer Publʹg Co., 486 U.S. 750, 757 (1988) (“[I]n the area of free

expression a licensing statute placing unbridled discretion in the hands of a government

official or agency constitutes a prior restraint and may result in censorship.”). The

doctrine addresses two primary concerns: “(1) the risk that the potential licensees [or

applicants] will engage in self‐censorship so as to avoid governmental censorship (i.e.,

being denied a license [or access to the forum]); and (2) the risk that the decision‐maker

will engage in undetectable viewpoint discrimination.” Viewpoint Neutrality Now! I, 516

F. Supp. 3d at 920 (citing Southworth v. Bd. of Regents of Univ. of Wis. Sys. (“Southworth

II”), 307 F.3d 566, 579 (7th Cir. 2002), and City of Lakewood, 486 U.S. at 759).

       The Supreme Court has never applied the unbridled‐discretion doctrine to a

limited public forum, but this Court previously predicted that “if the Eighth Circuit

were directly confronted with the question,” the court would find that the unbridled‐



                                             -14-
       CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 15 of 28




discretion doctrine applies in cases such as this, in which a public university funds

private student speech through a mandatory student‐services fee. Viewpoint Neutrality

Now! I, 516 F. Supp. 3d at 922. Accordingly, the Court held that “the University must

not vest unbridled discretion in the decision‐makers responsible for enforcing [the

restrictions on the limited public forum created by the student‐services‐fee fund].” Id.

                                     III. ANALYSIS

       With these First Amendment principles in mind, the Court turns to plaintiffs’

remaining claims.

                                  A. Media‐Group Claim

       Plaintiffs argue that the University’s media‐group‐funding process is

unconstitutional because “[t]he Vice‐Provost for Student Affairs and Dean of Students

[VPSA] has unbridled discretion as to whom may apply for media‐group funding

violating viewpoint neutrality principles.” Pl. Memo. Supp. Summ. J. (“Pl. Memo.”) at

27 [ECF No. 49]. The University does not deny that the media‐group‐funding process

challenged in plaintiffs’ complaint was unconstitutional for this reason. But the

University points out that the process challenged in plaintiffs’ complaint is no longer in

effect, and plaintiffs have not moved to amend their complaint to challenge the current

process. According to the University, this moots the case.




                                           -15-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 16 of 28




       The jurisdiction of federal courts is limited to “actual, ongoing cases and

controversies.” Young Am.’s Found. v. Kaler, 14 F.4th 879, 886 (8th Cir. 2021) (quoting Ali

v. Cangemi, 419 F.3d 722, 723 (8th Cir. 2005) (en banc)). “A case is considered moot

when, during the course of litigation, the issues presented in a case lose their life

because of the passage of time or a change in circumstances and a federal court can no

longer grant effective relief.” Id. (quoting Ali, 419 F.3d at 723) (alterations omitted).

       There are limited exceptions to the mootness doctrine. For example, a case is not

moot when a “defendant attempts to avoid appellate review by voluntarily ceasing

allegedly illegal conduct” or when a case is “capable of repetition, yet evading review.”

Iowa Prot. & Advoc. Servs. v. Tanager, Inc., 427 F.3d 541, 543–44 (8th Cir. 2005). Here,

plaintiffs argue that their challenge to the University’s media‐group‐funding process is

not moot because “[i]t is only on the eve of the VNN’s summary judgment motion that

the University makes cosmetic changes to the [challenged] policy.” Pl. Summ. J. Resp.

& Reply (“Pl. Resp. & Reply”) at 7 [ECF No. 61].

       Plaintiffs’ argument relies on the Supreme Court’s opinion in Friends of the Earth,

Inc. v. Laidlaw Environmental Services, Inc., 528 U.S. 167 (2000), and particularly on the

Court’s assertion that “[a] case can become moot by the defendant’s voluntary cessation

only if it is ‘absolutely clear that the allegedly wrongful behavior could not reasonably

be expected to recur.’” Pl. Resp. & Reply at 5 (quoting Laidlaw, 528 U.S. at 190). But



                                             -16-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 17 of 28




plaintiffs ignore more recent cases that clarify that the mootness analysis differs when

the defendant is a government entity and the allegedly wrongful behavior is a

government policy. Just last year, the Eighth Circuit explained that an allegedly

unlawful government policy that has been revoked or superseded

              is not “capable of repetition yet evading review” merely
              because the governing body has the power to reenact the
              policy after the lawsuit is dismissed. Instead, “the
              exceptions are rare and typically involve situations where it
              is virtually certain that the repealed policy will be
              reenacted.”

Kaler, 14 F.4th at 886 (alterations omitted) (quoting Teague v. Cooper, 720 F.3d 973, 977

(8th Cir. 2013)).

       In Kaler, the court considered whether a student group’s constitutional challenge

to a University of Minnesota events policy was mooted because the University had

changed the policy after the student group’s lawsuit had been filed. The court noted

that “[t]he University did not merely repackage the [old policy] under a new banner but

instead amended the substance of the policy seemingly to address [plaintiffs’]

concerns.” Id. The court also concluded that the plaintiffs had “not shown that it is

‘virtually certain’ that the [policy] will be reenacted.” Id. at 887. In light of these two

facts, the court concluded the student group’s claim was moot.

       For the same reasons, plaintiffs’ challenge to the University’s media‐group‐

funding process is moot. Plaintiffs’ complaint refers only to the University’s media‐


                                             -17-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 18 of 28




group‐funding process for the 2019–2020 academic year. See Compl. Ex. D. However,

the University changed the process for the 2021–2022 and 2022–2023 academic years.

Despite making arguments about the new process in their briefs, plaintiffs have not

made any effort to amend their complaint to explicitly challenge the new process.

       Like the policy at issue in Kaler, the new media‐group‐funding process is not a

mere repackaging of the old process; instead, the University amended the process to

address plaintiffs’ First Amendment concerns.7 For instance, the University omitted the

policy language vesting the VPSA with the “exclusive authority” to decide who may

apply for media‐group funding. Compare Carvell Decl. Ex. 3 at 16–17, with Compl. Ex. D

at 15. The new process also clarifies that before a funding request reaches the VPSA, the

request will be evaluated by a separate committee, and that committee will give the

VPSA a recommendation as to the request. And the new process sets forth a clearer

mechanism by which a group whose funding request is denied may appeal the

decision. Carvell Decl. Ex. 3 at 17. These changes are clearly meant to address

plaintiffs’ concerns about the unbridled discretion previously granted to the VPSA.


       7
         Plaintiffs argue that the fact that the University changed its policy in response to
this litigation and the Court’s prior order should cause the Court to doubt that the
changes are permanent and weigh against a finding of mootness. See Pl. Resp. & Reply
at 5–7. This argument is inconsistent with Kaler, in which the Eighth Circuit treated the
fact that the University responded to constitutional concerns raised by the litigation as a
reason to dismiss the claims as moot. 14 F.4th at 887. This Court does likewise. The
University deserves credit for voluntarily addressing the constitutional concerns
identified by this Court.

                                            -18-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 19 of 28




       Not only has the University made substantive changes to the media‐group‐

funding process, but plaintiffs have not cited any evidence that it is “virtually certain”

that the University will revert to the old process in the future. Cf. Kaler, 14 F.4th at 887.

Instead, plaintiffs repeatedly cite to case law applying a different, inapplicable standard

for determining whether their claim is moot.

       To be clear: The Court has found only that plaintiffs’ media‐groups claim is

moot. The Court has not held that the University’s new media‐group‐funding process

is constitutional. That issue is not before the Court, as the new process is not mentioned

in the complaint. For present purposes, the fact that the new process (especially the

2022–2023 process) appears to address the concerns that this Court expressed about the

old process is relevant only to show that the University did more than repackage the

old process.8

       In sum, plaintiffs’ constitutional attack on the process by which groups apply for

media‐specific funding is moot because the University has substantively changed the

process since plaintiffs filed their complaint and there is no evidence that the University




       8
        If the new process operates as the University represented to the Court during
oral argument, the new process may pass constitutional muster. Counsel for the
University acknowledged, however, that much of her understanding of how the new
process works relies upon assumptions that are not explicitly spelled out in the media‐
groups handbook. The University might avoid a lawsuit by incorporating counsel’s
assumptions into its written policy.

                                             -19-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 20 of 28




is certain (or even likely) to resurrect the old process in the future. The Court therefore

dismisses plaintiffs’ media‐group claim as moot.

                                  B. Coffman‐Space Claim

       Plaintiffs’ other remaining claim is that the University violated the First

Amendment when it allocated space in Coffman to the nine student cultural centers.

Plaintiffs acknowledge that the University was permitted to allocate space in Coffman

to some groups but not to others because the space is a limited public forum.

Nevertheless, plaintiffs allege that the University engaged in viewpoint discrimination

by allocating space to the nine cultural centers at the exclusion of “other minority

groups [and] ideological cultural groups.” Pl. Memo. at 24. According to plaintiffs, the

University impermissibly “embraced the ideology of the nine historical cultural centers

as sole representatives of the ‘minoritized identities’ of the college community.” Pl.

Resp. & Reply at 10. In addition, plaintiffs allege that, in deciding to allocate the space

in Coffman, University officials exercised discretion that was unbridled and hence

unconstitutional.

                    1. There Is No Evidence of Viewpoint Discrimination

       The record does not support plaintiffs’ contention that the University’s decisions

regarding the allocation of Coffman space were motivated by viewpoint discrimination.

Indeed, the only viewpoint plaintiffs have identified is that the University intended “to



                                            -20-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 21 of 28




promote one student organization over that of another with preferential treatment by

providing Coffman space.” Pl. Memo. at 26. They argue that while the University is

permitted to limit a forum to certain groups, see id. at 21–22, it cannot endorse the

“viewpoint” that the groups to which it limits the forum are a “good thing,” id. at 26.

       Plaintiffs’ argument conflates content and viewpoint discrimination. As this

Court previously explained:

              A limited public forum is limited—and thus it follows that
              the government may confine the forum “to the limited and
              legitimate purposes for which it was created.” Rosenberger,
              515 U.S. at 829. In placing limits on the forum, the
              government cannot engage in viewpoint discrimination, but
              it can engage in content discrimination to preserve “the
              purposes of that limited forum.” Id. at 829–30. The
              difference between viewpoint discrimination and content
              discrimination is, at times, “‘slippery.’” Iancu v. Brunetti, 139
              S. Ct. 2294, 2313 (2019) (Sotomayor, J., concurring in part).
              “Content discrimination occurs whenever a government
              regulates ‘particular speech because of the topic discussed or
              the idea or message expressed.’” Id. (quoting Reed v. Town of
              Gilbert, 576 U.S. 155, 163 (2015)). Viewpoint discrimination
              occurs whenever a government targets “particular views
              taken by speakers on a subject.” Rosenberger, 515 U.S. at 829.
              At its core, then, viewpoint discrimination is “an egregious
              form of content discrimination.” Id.

Viewpoint Neutrality Now! I, 516 F. Supp. 3d at 919.




                                            -21-
           CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 22 of 28




       The problem with plaintiffs’ challenge is that it could be made to any limited

forum, as every limited forum includes some participants and excludes others.9 It may

be true that the University’s allocation of space was motivated by its belief that

supporting cultural centers is a worthwhile goal, but that is not viewpoint

discrimination. It is inherent in the concept of a limited public forum that some groups

or speakers will have access to the forum and others will not. It is only when access to

the forum is granted or denied based on a group’s or speaker’s opinion or perspective (i.e.

viewpoint)—rather than based on the nature of the group or speaker—that a restriction

becomes unconstitutional.10 See Gerlich, 861 F.3d at 705 (“The state engages in viewpoint

discrimination when the rationale for its regulation of speech is ‘the specific motivating

ideology or the opinion or perspective of the speaker.’” (quoting Rosenberger, 515 U.S. at


       9
         By way of example, suppose that the University had limited the space in
Coffman to music groups—that is, to groups that are interested in playing music. That
decision would be classic (and permissible) content discrimination. See Brunetti, 139
S. Ct. at 2313 (Sotomayor, J., concurring) (describing content discrimination). An
opponent of the University’s decision might argue that the University has endorsed the
“viewpoint” that “music groups are good.” If such an argument were successful, then
no limited forum would be constitutional, as an opponent of the forum could always
argue that, by including x and excluding not x, the University had endorsed the
“viewpoint” that “x is good.”
       10
          And thus, if the University did limit space in Coffman to only music groups, the
University could favor certain music groups over others based on content (e.g., the
University could favor groups that play string instruments over those that do not), but
the University could not favor certain music groups over others based on viewpoint
(e.g., the University could not favor groups that played “patriotic” music over those
that do not).

                                           -22-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 23 of 28




829)); Christian Legal Soc’y Chapter of the Univ. of Cal., Hastings Coll. of the L. v. Martinez,

561 U.S. 661, 694–95 (2010) (policy that draws “draws no distinction between groups

based on their message or perspective” is “textbook viewpoint neutral”).

       The record does not provide evidence of viewpoint discrimination. Instead, the

record shows that the cultural centers engage in a wide range of expressive activity that

is untethered to any specific issue, let alone to any specific viewpoint. See Pl. Memo. at

12–15 (describing examples of expressive activity undertaken by the cultural centers,

including La Raza’s advocacy to make the University a “sanctuary campus,” the

QSCC’s sponsorship of “Kinky U” meetings, the FSAC’s sponsorship of pro‐choice

events, the BSU’s organization of a protest related to policing, and AMCC’s

organization of events for Ramadan). Moreover, plaintiffs have not cited any evidence

that the student groups who do not have dedicated space allocated to them in Coffman

are denied such access because of their viewpoints. Cf. id. at 26 (arguing that “the

University has preferred the [cultural centers] over others . . . that may be different or

opposed to the historical cultural ideologies the University has aligned itself,” without

explaining what these different or opposite ideologies might be and without citing to

anything in the record that would support the claim).

       Plaintiffs’ argument boils down to this: Plaintiffs want the University to adopt a

different allocation of space in Coffman than the one the University implemented when



                                               -23-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 24 of 28



it renovated the Union in 2011. Plaintiffs believe that their preferred allocation would

serve the University’s goals better than the University’s allocation. See Pl. Resp. &

Reply at 4 (arguing that the University should “rotat[e] other student groups with

‘minoritized identities’ (as well as other groups) through Coffman’s student lounges”).

But disagreement with the University over how its goals can best be achieved does not

make a constitutional claim. Cf. Cornelius, 473 U.S. at 808 (“The Government’s decision

to restrict access to a nonpublic forum need only be reasonable; it need not be the most

reasonable or the only reasonable limitation.” (emphasis added)).11

       Plaintiffs cannot survive the University’s motion for summary judgment without

pointing the Court to any record evidence that supports their claim. See Bedford v. Doe,

880 F.3d 993, 996 (8th Cir. 2018) (“A principal purpose of the summary‐judgment

procedure ‘is to isolate and dispose of factually unsupported claims or defenses’ . . . .

[A] movant will be entitled to summary judgment ‘against a party who fails to make a

showing sufficient to establish the existence of an element essential to that party’s case,

and on which that party will bear the burden of proof at trial.’” (quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 322–24, 327 (1986))). On this record, a reasonable jury could not


       11
         Plaintiffs did not explicitly allege that the University’s space‐allocation decision
was unreasonable. Even if they had, however, the Court would find that the
University’s decision was reasonable in light of the University’s expertise in creating
policies that benefit the campus community, the purposes served by Coffman, and the
alternative channels of communication and spaces available to RSOs. See Rhodes, 973
F.3d at 876.

                                            -24-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 25 of 28



find that viewpoint discrimination occurred, and thus the University is entitled to

summary judgment.

           2. Plaintiffs Cannot Prevail on Their Unbridled‐Discretion Theory

       Plaintiffs also argue that the University’s decision about how to allocate space in

Coffman should be invalidated because when the VPSA made that decision in 2011, the

VPSA’s discretion was “unbridled.” Pl. Resp. & Reply at 11.

       A policy providing unbridled discretion to a decision‐maker is most concerning

when future speech might be chilled by the policy, see, e.g., City of Lakewood, 486 U.S. at

757 (“[A] licensing statute placing unbridled discretion in the hands of a government

official or agency constitutes a prior restraint and may result in censorship.”); Victory

Through Jesus, 640 F.3d at 337 (same); Forsyth Cnty., Ga. v. Nationalist Movement, 505 U.S.

123, 129 (1992) (explaining that First Amendment facial challenges present an

“exception from general standing rules” because of the risk that expressive activity will

be chilled), and when it would be difficult for a court to detect impermissible viewpoint

discrimination, Viewpoint Neutrality Now!, 516 F. Supp. 3d at 920 (citing City of Lakewood,

486 U.S. at 759). As explained in the Court’s prior order, the unbridled‐discretion

doctrine developed out of Supreme Court jurisprudence “evaluating the adequacy of

safeguards in schemes that license access to public forums.” Id. (collecting cases).




                                            -25-
       CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 26 of 28



Facial unbridled‐discretion challenges are most often raised by plaintiffs who are

concerned about the chilling of future speech.

       Such concerns are not present in this case. Plaintiffs do not challenge an ongoing

process or policy. Instead, they challenge a one‐time decision that was made long

before they enrolled at the University. See Towle Decl. ¶ 10 (University’s allocation of

space was intended to be a “long‐term solution”); id. ¶ 13 (cultural centers hold space in

Coffman on a “semi‐permanent basis,” subject only to “periodic renewal”). That

decision could not possibly chill plaintiffs’ speech. Moreover, the Court has just found

that the University’s decision was untainted by viewpoint discrimination, so any

concern about undetectable discrimination is greatly diminished.

       Plaintiffs have not cited—and the Court has not found—any case that suggests

that a plaintiff may overturn a past decision based on the “unbridled discretion” that

was enjoyed by the decision‐maker at the time that the decision was made, particularly

when the Court has determined that the past decision was not motivated by viewpoint

discrimination. In fact, the Supreme Court appeared to have rejected just such a

challenge in Arkansas Educational Television Commission v. Forbes, 523 U.S. 666 (1998). In

Forbes, the Court upheld a broadcaster’s decision to exclude a political candidate from a

televised debate because there was no evidence linking the candidate’s exclusion to his

viewpoints. The Court upheld the decision notwithstanding the dissent’s complaints



                                           -26-
        CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 27 of 28



about the “ad hoc” and “standardless” nature of the decision and the “nearly limitless

discretion” of the broadcaster. Id. at 682–86.

       In the same way, this Court finds no reason to invalidate the University’s

decision to allocate space in Coffman to the cultural centers, even if the decision was not

limited by a clearly articulated set of standards.12 The decision was “a reasonable,

viewpoint‐neutral exercise of . . . discretion,” see id. at 683, which is all that the

Constitution requires.

                                            ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

       1.     Plaintiffs’ motion for summary judgment [ECF No. 47] is DENIED.

       2.     Defendants’ motion for summary judgment [ECF No. 54] is GRANTED.




       12
         The Eighth Circuit relied on similar reasoning when it rejected a facial challenge
to a school district’s procedure for granting access to a “Backpack Flyers for Students”
program, despite the plaintiff organization’s argument that the procedure granted a
school official unbridled discretion to grant access to the program. See Victory for Jesus,
640 F.3d at 337. In explaining its decision, the court noted: “Neither the Supreme Court
nor this court has ever applied a stringent, facial standard of judicial oversight to the
discretionary decisions of school officials administering a nonpublic educational forum.
In our view, Victory’s contrary contention cannot be squared with the Supreme Court’s
decision in Forbes, which upheld a public broadcaster’s ad hoc but reasonable exclusion
of a qualified candidate from a campaign debate over a dissent that objected to the
exercise of ‘nearly limitless discretion’ in controlling a nonpublic forum for political
speech.” Id. (citation omitted) (emphasis in original).

                                              -27-
      CASE 0:20-cv-01055-PJS-JFD Doc. 67 Filed 01/30/23 Page 28 of 28



     3.    Plaintiffs’ complaint [ECF No. 1] is DISMISSED WITH PREJUDICE AND

           ON THE MERITS.

     LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: January 30, 2023                s/Patrick J. Schiltz
                                       Patrick J. Schiltz, Chief Judge
                                       United States District Court




                                    -28-
